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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


RICHARD C. POND,                                                 CIVIL ACTION NUMBER
          Plaintiff,                                             3:09-CV-00348 (PCD)

V.
SAINT JOHN'S CHURCH,
          Defendant                                              DECEMBER 22, 2009


                          JOINT STIPULATION OF DISMISSAL

       Pursuant to the Federal Rules of Civil Procedure, and Local Rule 41 (b) for the

District of Connecticut, Plaintiff Richard C. Pond and Defendant St. John's Church, by

agreement, hereby stipulate to the dismissal with prejudice of all of Plaintiff's claims. All

parties shall bear their own costs, expenses, and attorneys' fees, except as may

specifically and expressly be agreed to by the parties.



Plaintiff, Richard C. Pond                      Defendant, St. John's Church



By:         Is/                                 By:        Is!
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                               CERTIFICATION OF SERVICE

         I hereby certify that on the 22nd day of December, 2009 a copy of the foregoing
Motion was filed electronically [and served by mail on anyone unable to accept
electronic filing]. Notice of this filing will be sent by e-mail to all parties by operation of
the Court's electronic filing system [or by mail to anyone unable to accept electronic
filing]. Parties may access this filing through the Court's system.




                                               Is!
                                        Peter B. Prestley
